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 7
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 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND
13                                             Q CYBER TECHNOLOGIES LIMITED’S
                 Plaintiffs,
                                               REPLY IN SUPPORT OF MOTION TO
14                                             DISMISS UNDER FEDERAL RULES OF
           v.
                                               CIVIL PROCEDURE 12(B)(1), 12(B)(2),
15                                             12(B)(6), AND 12(B)(7)
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
                                               Date:   May 27, 2020
                 Defendants.                   Time:   9:00 a.m.
17                                             Ctrm:   3
18                                             Action Filed: 10/29/2019
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 1   I.       INTRODUCTION

 2            Reading Plaintiffs’ Complaint along with Defendants’ (“NSO’s”) uncontradicted

 3   evidence, there is no dispute the alleged use of Pegasus to message 1400 foreign WhatsApp users

 4   in April and May 2019 was done by sovereign governments in foreign countries. Nor is there a

 5   dispute that NSO’s Pegasus software did not damage WhatsApp’s servers, because each message

 6   flowed through the system from sender to intended recipient, just like any other message. For all

 7   their hyperbole and technical jargon, Plaintiffs submit no evidence to refute this and all but

 8   concede that they have no evidence supporting their false allegations that NSO operated the

 9   Pegasus software. (Opp. 8.) The evidence they do have shows otherwise. (Mot. 2 n.1, 6–7 (citing

10   exhibits to Complaint).) NSO is a highly-regulated enterprise that provides government agencies

11   an essential tool to monitor terrorists and criminals, analogous to companies that supply the U.S.

12   military with aircraft, weapons, and cyber-intelligence tools.

13            Plaintiffs’ Opposition depends on ignoring Defendants’ evidence and rewriting the

14   Complaint. Plaintiffs mistakenly argue that their allegations must be accepted as true under Rule

15   12(b). (Opp. at 2). But if they had wanted to contest NSO’s motions under Rules 12(b)(1),

16   12(b)(2), and 12(b)(7), Plaintiffs needed to contradict NSO’s evidence through their own

17   affidavits. 1 “Once the moving party has converted the motion to dismiss into a factual motion by

18   presenting affidavits or other evidence . . . the party opposing the motion must furnish affidavits

19   or other evidence necessary to satisfy its burden.” Savage, 343 F.3d at 1039 n.2. Plaintiffs did

20   not do so. To the extent Plaintiffs make new assertions of fact, they may not amend their

21   Complaint through unsupported statements in their Opposition; they must file an amended

22   complaint. Barnes v. Campbell Soup Co., 2013 WL 5530017, at *2 (N.D. Cal. July 25, 2013).

23            More broadly, Plaintiffs do not submit any evidence to support their attacks on NSO as a

24   rogue hacker-for-hire. NSO did not hack WhatsApp. Plaintiffs do not accuse NSO of stealing

25   their data, accessing their servers to change any of the code that causes WhatsApp to function, or

26

27   1
       See Savage v. Glendale Un. High Sch., 343 F.3d 1036, 1039 n.2 (9th Cir. 2003) (12(b)(1));
28   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004) (12(b)(2)); Estate
     of Burkhart v. United States, 2008 WL 4067429, at *2 (N.D. Cal. Aug. 26, 2008) (12(b)(7)).
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 1   implanting any malicious code or virus into their systems. Plaintiffs merely accuse NSO of

 2 figuring out a way for NSO’s foreign sovereign customers to use WhatsApp as a delivery

 3   mechanism for those sovereigns to contact the phones of terrorists and serious criminals.

 4            Personal jurisdiction cannot be based on foreign communications passing through servers

 5 in California. This Court lacks subject matter jurisdiction because foreign sovereigns committed

 6   the acts Plaintiffs challenge, with NSO taking a tech-support role as the sovereigns’ agent.

 7   NSO’s customers are indispensable parties under Rule 19, and Plaintiffs’ allegations do not state

 8   claims under CFAA or for trespass to chattels. NSO’s motion to dismiss should be granted.

 9   II.      ARGUMENT
              A.     The Court Lacks Personal Jurisdiction Over NSO
10
              None of Plaintiffs’ personal jurisdiction arguments is persuasive, and the lack of personal
11
     jurisdiction is grounds for dismissal of the complaint with prejudice. 2 NSO addresses it first.
12
                     1.      NSO Did Not Consent to Personal Jurisdiction
13
              Plaintiffs’ consent argument contradicts the unambiguous language in WhatsApp’s TOS.
14
     Judge Tigar recently rejected Plaintiffs’ tortured construction, apparently prompting alteration to
15
     the relevant language in WhatsApp’s revised TOS (“RTOS”). The TOS that applies to this action,
16
     as Judge Tigar found, did not require NSO to consent to personal jurisdiction in California.
17
              The TOS’s forum-selection clause expressly applies to any “claim” the customer has with
18
     WhatsApp, and claims are usually one-way. That is, if you have a claim against me, it does not
19
     mean that I have a claim against you. Plaintiffs’ Opposition substitutes the word “dispute,”
20
     arguing that the TOS apply to “all disputes” between the parties—both you with me and me with
21
     you. (Opp. at 11.) But the forum-selection clause defines “Dispute” as “any claim you have with
22
     us.” (Def. Exh. 1 at 4 (emphasis added).) So when the TOS uses the phrase “all such Disputes,”
23
     it plainly does not apply to disputes except for claims by customers against WhatsApp.
24
              Even if the TOS were ambiguous, it must be construed against the drafter. Mastrobuono
25
     v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 62 (1995). No reasonable user would presume
26

27   2
       Plaintiffs’ conditional request for jurisdictional discovery (Opp. 19 n.13) should be denied, as
28   they have not identified any fact that could be established through discovery that would show
     personal jurisdiction is proper.
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 1   that signing up for a free communications service gives the provider a right to sue the customer

 2 in a foreign jurisdiction with which the customer has no connection. A contract provision

 3 subjecting WhatsApp’s billions of customers to such a risk would need to be unambiguous.

 4            A few months ago, Judge Tigar ruled that nearly identical language in Facebook’s TOS

 5   applies only to claims the user files against Facebook, and not to claims Facebook files against

 6   the user. Facebook, Inc. v. Rankwave Co., No. 4:19-cv-3738, at *6 (N.D. Cal. Nov. 14, 2019)

 7   (Dkt. 34) (cited at Opp. 12). The language Judge Tigar considered (“any claim … you have

 8 against us”) is almost identical to the WhatsApp TOS (“any claim you have with us”), but vastly

 9 different from the language Plaintiffs wish they had drafted (“all disputes we have with each

10 other”). Id. at *5. As Judge Tigar held, “Facebook is a sophisticated entity and the Court is

11 entitled to assume that sophisticated parties choose their contract language carefully.” Id. at *6.

12            Demonstrating their sophistication, Plaintiffs took decisive steps after Rankwave to

13 expand WhatsApp’s forum-selection clause beyond claims users have against WhatsApp. (Akro

14 Decl. Exh. 1 at 7.) Where the original TOS covered “any claim you have with us,” the RTOS

15 covers “any Claim,” period. (Id. Exh. 2 at 6.) Plaintiffs changed that language for a reason: to

16 expand coverage from the one-way “you will resolve any claim you have with us” to the two-

17 way “you and WhatsApp will resolve any claim” between the parties. 3

18            Another RTOS revision puts a final nail in Plaintiffs’ argument. After requiring the user

19   to resolve “any claim” in California, the RTOS adds a one-sided caveat: “we may elect to resolve

20   any Dispute we have with you . . . in the country in which you reside.” (Akro. Decl. Exh. 2 at 6

21   (emphasis added).) This provision unambiguously uses the same “have with” construction as the

22   TOS to define a limited subset of “claims.” If “any Dispute we have with you” in the RTOS does

23   not apply to claims WhatsApp’s users bring against it, then “any Dispute you have with us” in

24   the original TOS does not apply to claims WhatsApp brings against its users.

25

26   3
       Plaintiffs did not revise only the RTOS in January 2020. They also silently altered all previous
     TOS archived on WhatsApp’s website, so a customer (or lawyer) who visited the website to
27   research the TOS from any past date would be deceived that the earlier version contained the
28   broader revised language. (Akro. Decl. at 1–3.) After NSO exposed WhatsApp’s revisionist
     history (id.), WhatsApp now appears to have restored the authentic archived TOS to its website.
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                     2.     The Court Lacks Specific Jurisdiction Over NSO
 1
              Plaintiffs do not establish specific jurisdiction because they do not identify any case-
 2
     related act that NSO performed in or directed at California. (Mot. 13–16.) Plaintiffs identify four
 3
     supposed contacts between NSO and California: (1) agreeing to WhatsApp’s TOS, (2) obtaining
 4
     financing in California, (3) contracting with QuadraNet to use California servers, and (4) using
 5
     WhatsApp’s California servers. (Opp. 12–13.) These supposed contacts, however, don’t show
 6
     any intentional connection to California, as opposed to “‘persons who reside there.’” Hoffman v.
 7
     Michael A. Rolf C.P.A., 2019 WL 2451007, at *2 (N.D. Cal. June 12, 2019) (Hamilton, J.)
 8
     (quoting Walden v. Fiore, 571 U.S. 277, 284-85 (2014)).
 9
              i. WhatsApp’s TOS. Plaintiffs argue that NSO submitted to jurisdiction in California
10
     merely by signing up for WhatsApp (Opp. 11), but “the formation of a contract with a
11
     nonresident defendant is not, standing alone, sufficient to create jurisdiction.” Boschetto v.
12
     Hansing, 539 F.3d 1011, 1017 (9th Cir. 2008). That is especially true for adhesion contracts like
13
     the TOS. Bosh v. Shed Media US Inc., 2011 WL 13220335, at *2 n.1 (C.D. Cal. Aug. 16, 2011).
14
     The TOS’s choice-of-law clause (assuming it even applies, but see supra Part II.A.1) is, without
15
     more, “insufficient to confer jurisdiction.” Burger King. v. Rudzewicz, 471 U.S. 462, 482 (1985).
16
              Instead, Plaintiffs must show that NSO created “ongoing obligations with [WhatsApp] in
17
     California.” Boschetto, 539 F.3d at 1017. They do not even try. They simply assert that NSO
18
     agreed to comply with the TOS when sending messages. (Opp. 12.) But all contracts require
19
     compliance, and Plaintiffs do not claim the TOS required NSO to do anything in California. All
20
     the cases Plaintiffs cite involved multi-year contracts requiring repeat interactions with
21
     Californians. 4 NSO, in contrast, had no contact with WhatApp and did not perform the contract
22
     in California. (Compl. ¶¶ 33, 43). That is not purposeful availment. See Netgear, Inc. v. Redzone
23
     Wireless, LLC, 2017 WL 2351359, at *4 (N.D. Cal. May 31, 2017) (no jurisdiction based on
24

25
     4
     See Rankwave, No. 4:19-cv-3738, at *9–11 (seven-year contracts under which defendant
26 submitted apps to Facebook and “created and operated at least 30 apps on the Facebook
   Platform, which were installed by ‘[h]undreds’ of users in California”); Google, Inc. v. Eolas
27 Tech. Inc., 2014 WL 2916621, at *3 (N.D. Cal. June 24, 2014) (twenty-year contract requiring

28 “marketing and sale of . . . patents” in California, “recordkeeping, bookkeeping, accounting, and
   reporting” to California entity, and “payment of patent royalties” to California entity).
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 1   contract with California plaintiff that “did not contemplate performance in California”). 5

 2            ii. Alleged California Financing. Plaintiffs’ claims do not “arise out of” NSO’s alleged

 3 receipt of financing from a California investor. (Mot. 16.) Plaintiffs’ only counter is to speculate

 4 that NSO “developed Pegasus using [that] financing.” (Opp. 13.) But that claim is not in the

 5 Complaint, and Plaintiffs submit no evidence to support it. NSO could just as easily fund

 6 Pegasus entirely through customer payments, not through investor financing.

 7            Even if some of NSO’s alleged California funding went into Pegasus, NSO’s use of

 8 general corporate funds supporting its entire operation to develop this technology does not confer

 9 jurisdiction. The connection between NSO’s company-wide financing and any specific use of

10 Pegasus is too attenuated to create a “direct nexus” between the financing and Plaintiffs’ claims.

11 Fireman’s Fund Ins. Co. v. Nat’l Bank of Coops., 103 F.3d 888, 894 (9th Cir. 1996). Otherwise,

12 a company would be subject to jurisdiction in every state where it receives any funding. 6 That

13 would improperly convert specific jurisdiction into “a loose and spurious form of general

14 jurisdiction” based on “general connections with the forum.” Bristol-Myers Squibb Co. v. Super.

15 Ct., 137 S. Ct. 1773, 1781 (2017). Plaintiffs do not cite any case supporting such a boundless

16 theory of specific jurisdiction.

17            iii. Alleged Use of QuadraNet Servers. Plaintiffs’ assertions about QuadraNet’s

18 California servers (Opp. 13) should be disregarded because they are not in the Complaint. The

19 Complaint alleged that NSO used QuadraNet servers located in the United States, not

20 specifically in California. (Compl. ¶ 34.) If Plaintiffs want to clarify their allegations, they must

21 amend the Complaint. Supra at 1. 7 In any event, Plaintiffs’ new claims about QuadraNet are

22
     5
23   This Court previously rejected a rule creating specific jurisdiction based on a defendant’s
   Facebook account because it would subject billions of Facebook users around the globe, all of
24 whom agree to comply with Facebook’s policies, to personal jurisdiction in California. DFSB
   Kollective Co. v. Bourne, 897 F. Supp. 2d 871, 883 (N.D. Cal. Sept. 13, 2012) (Hamilton, J.).
25
   6
     Facebook, for instance, could be sued in any state where one of its shareholders lives. Plaintiffs
26 have challenged similar theories of specific jurisdiction when they are defendants. E.g.,
   Georgalis v. Facebook, Inc., 324 F. Supp. 3d 955, 960 (N.D. Ohio 2018) (rejecting jurisdiction
27 over Facebook in Ohio despite “significant revenues” from Ohio users).
     7
28      Moreover, Plaintiffs’ evidence from “Maxmind.com,” “IP2Location.com,” and
     “SecurityTrails.com” is inadmissible. (Mornin Decl. ¶¶ 2–6.) Plaintiffs do not request judicial
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 1   false: NSO did not contract with QuadraNet to use its California servers. (Supp. Hulio Decl. ¶ 3.)

 2   Plaintiffs submit no evidence to the contrary, nor even any evidence tying QuadraNet’s servers

 3   to NSO or Pegasus. (Gheorghe Decl.; LeBlanc Decl; Mornin Decl.)

 4          If Pegasus messages did pass through QuadraNet servers, they would have been sent by

 5   NSO’s customers, not NSO. Supra at 2. Even if NSO had used QuadraNet’s servers, that would

 6   still be insufficient. Plaintiffs admit courts have rejected specific jurisdiction based on a

 7   defendant’s use of third-party servers in the forum. (Opp. 15; Mot. 14 (citing cases); see also,

 8   e.g., DFSB, 897 F. Supp. 2d at 883.) That is because the contact created by using a server is “de

 9   minimis.” (Mot. 15 (citing cases).) Internet traffic “bounces from one server to another,” Adv.

10   Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 803 (7th Cir. 2014),

11   like a phone call routed through a switchboard. The “fortuit[y]” that internet traffic originating

12   and terminating overseas happened to pass through California does not create jurisdiction in

13 California. Hungerstation LLC v. Fast Choice LLC, 2020 WL 137160, at *5 (N.D. Cal. Jan. 13,

14 2020). That is true even when the contract includes a choice of law clause. Id. at *6.

15          iv. Purported Use of WhatsApp’s California Servers. Plaintiffs’ claim that NSO used

16 WhatsApp’s California servers (Opp. 15) cannot create jurisdiction because the Complaint does

17 not allege that WhatsApp even has California servers, let alone that NSO used them. (Mot. 14–

18 15.) Nor do Plaintiffs submit any evidence that WhatsApp has California servers that NSO used.

19 In contrast, NSO submitted uncontradicted evidence that NSO’s customers, not NSO, used

20 Pegasus to send messages over WhatsApp’s servers. (Hulio Decl. ¶¶ 9, 14.)

21          Even if WhatsApp has California servers, and even if NSO had sent messages through

22 them, that still would not show that NSO targeted California because “there is no allegation,

23 argument, or evidence that [NSO] played any role in selecting [any] server’s location.”

24 GreatFence.com, Inc. v. Bailey, 726 F. App’x 260, 261 (5th Cir. 2018). That rule is not, as

25 Plaintiffs claim, limited to third-party servers. (Opp. 15.) Specific jurisdiction cannot be based on

26 a plaintiff’s “unilateral activity” any more than a third party’s. Walden, 571 U.S. at 287. For that

27

28   notice of those websites or explain how they compile and verify their data. Thus, the websites are
     not “sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).
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 1   reason, multiple courts have rejected specific jurisdiction in cases where the defendant accessed

 2   the plaintiff’s servers. 8 Plaintiffs’ cases (Opp. 14–15) are not to the contrary. 9

 3            Here, Plaintiffs do not claim that NSO or its customers controlled where WhatsApp puts

 4   its servers, chose which WhatsApp servers to use, knew which servers WhatsApp’s systems

 5   would route its messages through, or knew or cared about those servers’ locations. (See Hulio

 6   Decl. ¶ 16.) If those servers were in California—which Plaintiffs do not allege or prove—it was

 7   pure “happenstance,” driven entirely by Plaintiffs’ own unilateral decisions. Hungerstation, 2020

 8   WL 137160, at *5. NSO’s alleged conduct would have been exactly the same if all the servers

 9   were in Cleveland, Paris, or Timbuktu. Indeed, the entire “complaint and the conduct alleged

10   therein would look nearly exactly the same if [Plaintiffs] happened to reside in a state other than

11   California. That alone indicates that [NSO’s] only suit-related contact to California is

12   [P]laintiff[s].” Hoffman, 2019 WL 2451007, at *4 n.2. Because Plaintiffs must show that NSO

13
     8
14   See Broidy Cap. Mgmt., LLC v. Qatar, 2018 WL 9943551, at *7 (C.D. Cal. Aug. 22, 2018)
   (location of plaintiff’s server was “‘random,’ ‘fortuitous,’ or ‘attenuated’”); Karp v. Buchem,
15 2018 WL 4944995, at *3 (C.D. Cal. Mar. 23, 2018) (same); Guar. Rate, Inc. v. Conn, 264 F.
   Supp. 3d 909, 921–22 (N.D. Ill. 2017) (access to plaintiff’s servers inadequate because the “role
16
   [the] servers play in [plaintiff’s] network is the result of conduct by [plaintiff], not [defendant]”).
17 9 The defendant in DEX Sys., Inc. v. Deutsche Post AG, 727 F. App’x 276, 278 (9th Cir. 2018),
   unlike NSO, controlled the location of the plaintiff’s servers. In Synopsys, Inc. v. Ubiquiti
18 Networks, Inc., the defendant traveled to California to negotiate with the plaintiff and hacked

19 into the plaintiff’s system from California computers. 2017 WL 3485881, at *2–3 (N.D. Cal.
   Aug. 15, 2017). NSO did not. In Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d 1039,
20 1053 (N.D. Cal. 2010), the defendant sold its software to Californians. NSO did not. In Seattle
   Sperm Bank, LLC v. Cryobank Am., LLC, 2018 WL 3769803, at *1–2 (W.D. Wash. Aug. 9,
21 2018), the defendants worked for the Washington-based plaintiff and intentionally stole data
   from its servers. NSO did not steal any data from WhatsApp’s servers.
22
           Facebook, Inc. v. ConnectU LLC, 2007 WL 2326090 (N.D. Cal. Aug. 13, 2007), held that
23 a  defendant’s “individualized targeting” of a plaintiff supports jurisdiction, id. at *5, a test that
   Walden overruled, Five Star Gourmet Foods, Inc. v. Fresh Express, Inc., 2020 WL 1244918, at
24 *7 (N.D. Cal. Mar. 16, 2020) (Hamilton, J.). CompuServe, Inc. v. Patterson, 89 F.3d 1257 (6th
   Cir. 1996), and Panavision Int’l, L.P v. Toeppen, 141 F.3d 1316 (9th Cir. 1998), also predate
25 Walden and have limited relevance. See IAND8, Inc. v. W. 54th LLC, 2018 WL 4961557, at *4
   (C.D. Cal. Jan. 26, 2018) (“Recent Supreme Court and Ninth Circuit decisions are more
26
   applicable here than Panavision.”). The CompuServe defendant advertised, stored, and sold his
27 software on the plaintiff’s Ohio servers and communicated with the plaintiff in Ohio. 89 F.3d at
   1264–65. The Panavision defendant infringed the plaintiff’s film and TV trademarks to confuse
28 consumers in California, “the heart of the theatrical motion picture and television industry.” 141
   F.3d at 1321. NSO’s alleged actions have no similar ties to California as a state.
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 1   did more than target them, the Complaint should be dismissed. Id. at *4.

 2                  3.      Personal Jurisdiction Would Be Unreasonable

 3          As NSO argued, this case is materially indistinguishable from Glencore Grain Rotterdam

 4   B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1125–26 (9th Cir. 2002), which establishes

 5   that exercising jurisdiction in California would be unreasonable. (Mot. 17–18.) Plaintiffs do not

 6   distinguish Glencore, and their account of the reasonableness factors is unpersuasive. They rest

 7   their claim of NSO’s “purposeful interjection” into California on their flawed specific-

 8   jurisdiction arguments. (Opp. 16.) They minimize the obvious burden to NSO of litigating in
                                                                                                  10
 9 California (Mot. 17) by citing supposed “U.S. ties” with no bearing on this lawsuit (Opp. 16).

10   They shrug off Israel’s sovereign interests, even though the Ninth Circuit has held that this factor

11   disfavors jurisdiction any time “the defendant is from a foreign nation.” Glencore, 284 F.3d at

12   1126. They overvalue their own convenience, which is an “insignificant” factor in the analysis.

13   Core-Vent Corp. v. Nobel Indust. AB, 11 F.3d 1482, 1490 (9th Cir. 1993). And they do not even

14   try to establish that Israel is an inadequate forum, despite the Ninth Circuit’s rule that the party

15   opposing a motion to dismiss “has the burden of proving the unavailability of an alternative

16   forum.” Amoco Egypt Oil Co. v. Leonis Nav. Co., 1 F.3d 848, 853 (9th Cir. 1993).

17                  4.      NSO Is Not Subject to Jurisdiction Under Rule 4(k)(2)

18          In a last ditch attempt to establish personal jurisdiction, Plaintiffs seek to rely on Rule

19   4(k)(2). (Opp. 17–18.) But “[t]he Ninth Circuit has urged cautious application of Rule 4(k)(2),”

20   Hungerstation, 2020 WL 137160, at *7, and it does not apply here.

21          NSO’s alleged “contacts with the United States are only marginally more significant than

22   [its] contacts with [California] and do not support a finding of nationwide jurisdiction.” Holland

23   Am. Line Inc. v. Wartsila N.A., Inc., 485 F.3d 450, 461 (9th Cir. 2007). NSO did not commit any

24   of the actions Plaintiffs challenge, so those alleged actions do not show any contact between

25

26
     10
         NSO’s “U.S.-based marketing and sales arm” (Opp. 16 n.12) is actually NSO’s sister
27   company, not its “arm” (Supp. Hulio Decl. ¶ 4), and any discussions it had with the DEA are
28   irrelevant to the burden of litigating this suit in California. So are the alleged residence of NSO’s
     co-founder and NSO’s erstwhile funding, which ended more than a year ago. (Opp. 16 n.12)
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 1   NSO and the U.S. NSO’s alleged use of U.S.-based servers creates no more of a connection with

 2   the U.S. than with California. Plaintiffs allege that NSO acted overseas (Compl. ¶ 33), so any use

 3   of U.S. servers to facilitate that purely foreign conduct was too “scant, fleeting, and attenuated”

 4   to create jurisdiction under Rule 4(k)(2). Holland, 485 F.3d at 462. 11

 5          The other alleged U.S. connections are even less significant. Activities of NSO’s alleged

 6   “marketing arm” (Opp. 18) cannot be attributed to NSO without a showing it is NSO’s alter ego,

 7   Am. Tel. & Tel. Co. v. Compagnie Bruxelles Lambert, 94 F.3d 586, 591 (9th Cir. 1996), and its

 8   activities did not give rise to Plaintiffs’ claims. NSO’s co-founder’s choice of residence is not a

 9 contact between NSO and the forum, 12 and it is likewise unrelated to Plaintiffs’ claims. And

10   harms Plaintiffs suffered in California do not create jurisdiction. Walden, 571 U.S. at 289.

11          Finally, jurisdiction under Rule 4(k)(2) would be unreasonable for the same reasons that

12   jurisdiction would be unreasonable in California. NSO has no meaningful contacts with the U.S.,

13   the burden of litigating there would be high and would harm Israel’s sovereign interests, and

14   Israel is an adequate alternative forum.

15          B.      The Court Lacks Subject Matter Jurisdiction Because NSO Has Derivative
                    Foreign Sovereign Immunity
16
            Contrary to Plaintiffs’ argument (Opp. 3), NSO does not claim immunity for itself under
17
     the Foreign Sovereign Immunities Act. NSO is entitled to derivative sovereign immunity, a
18
     claim Plaintiffs wrongly describe as precluded by Samantar v. Yousuf, 560 U.S. 305 (2010).
19
     Samantar rejected a foreign official’s claim to direct statutory immunity under the FSIA. 560
20

21
     11
22     See Hungerstation, 2020 WL 137160, at *7 (rejecting Rule 4(k)(2) jurisdiction based on use of
     U.S. servers); Sonterra Cap. Master Fund Ltd. v. Credit Suisse Grp. AG, 277 F. Supp. 3d 521,
23   590 (S.D.N.Y. 2017) (“[T]he happenstance that the electronic communications of defendants
     acting abroad were routed through a server in the United States cannot substantially contribute to
24   a finding of sufficient contacts with the United States.”). Plaintiffs’ case, Micron Tech., Inc. v.
     United Microelec. Corp. (Opp. 18), involved far more substantial U.S. contacts. The defendant
25   there hacked into the plaintiff’s U.S. servers to steal files. 2019 WL 1959487, at *3 (N.D. Cal.
26   May 2, 2019). The servers were the defendant’s targets, while NSO’s alleged targets were
     foreign WhatsApp users, and NSO did not steal any data from WhatsApp’s servers.
27   12
     None of the directors of NSO or Q Cyber reside in the United States. (Supp. Hulio Decl. ¶ 5.)
28 Facebook cites a declaration of one of its own attorneys for the proposition that the person in
   question, Omri Lavie, is a director of NSO. That declaration lacks foundation.
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 1   U.S. at 309–11; Yousuf v. Samatar, 552 F.3d 371, 375–76 (4th Cir. 2009). Derivative sovereign

 2 immunity is not statutory. Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000). 13

 3          In Butters, the Fourth Circuit held that Saudi Arabia’s private agent was derivatively

 4   immune; it applied the FSIA only to the government. 225 F.3d at 466. Samantar affirmed a

 5 decision by the Fourth Circuit, which had no reason to apply its own Butters precedent because

 6 there was no claim of derivative immunity. Nor has any other Circuit rejected Butters. The Fifth

 7 Circuit, which previously approved derivative foreign sovereign immunity, Alicog v. Kingdom of

 8 Saudi Arabia, 79 F.3d 1145 (5th Cir. 1996) (affirming district court decision applying derivative

 9 foreign sovereign immunity), has not revisited its position. See Cunningham v. Gen. Dynamics

10 Info. Tech., Inc., 888 F.3d 640, 649–50 (4th Cir. 2018) (citing Alicog as good law). 14

11          That is because derivative immunity is grounded in the common law of foreign sovereign

12   immunity. Plaintiffs admit (Opp. 5–6) that a foreign sovereign’s immunity “extends to . . . any

13   . . . agent of the state with respect to acts performed in his official capacity if the effect of

14   exercising jurisdiction would be to enforce a rule of law against the state.” Rest. (2d) of Foreign

15   Relations Law § 66(f) (1965). This “conduct-based immunity,” Doğan v. Barak, 932 F.3d 888,

16   893–94 (9th Cir. 2019), applies to a foreign sovereign’s private agents, Moriah, 107 F. Supp. 3d

17   at 277. And it applies when the agent “act[s] on behalf of the state.” In re Estate of Marcos, 25

18   F.3d 1467, 1472 (9th Cir. 1994); accord Yousuf v. Samantar, 699 F.3d 763, 774–75 (4th Cir.

19   2012). Butters applied this longstanding rule of immunity, which requires dismissal here.

20          Plaintiffs respond that NSO’s customers do not order it to design and market Pegasus.

21   (Opp. 7.) That is beside the point; Plaintiffs are not suing NSO for designing or marketing

22
     13
23    Plaintiffs argue that domestic “derivative sovereign immunity” is not jurisdictional (Opp. 7),
   but foreign sovereign immunity is jurisdictional. Barapind v. Rep. of India, 844 F.3d 824, 829
24 (9th Cir. 2016); Sachs v. Rep. of Austria, 737 F.3d 584, 589 (9th Cir. 2013) (en banc), rev’d on
   other grounds by OBB Personenverkehr AG v. Sachs, 136 S. Ct. 390 (2015). That NSO’s
25 immunity derives from its customers’ makes no difference. Butters, 225 F.3d at 465.

26   14
      District courts also still apply Butters. Ivey v. Lynch, 2018 WL 3764264, at *6 (M.D.N.C. Aug.
   8, 2018); Moriah v. Bank of China Ltd., 107 F. Supp. 3d 272, 276–77 & n.34 (S.D.N.Y. 2015).
27 Plaintiffs cite one case declining to apply Butters, Broidy Cap. Mgmt. LLC v. Muzin, 2020 WL

28 1536350, at *6 (D.D.C. Mar. 31, 2020), but that court relied primarily on the fact that the
   defendants were all U.S. citizens.
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 1   Pegasus. They challenge the alleged use of Pegasus to message WhatsApp’s users, which was

 2   done entirely by foreign sovereigns. (Hulio Decl. ¶ 14.) 15 Plaintiffs’ theory would punish people

 3   who offer goods and services to the government when the cause of action is based on the

 4   government’s use of the product. But suppliers are not stripped of derivative immunity for

 5   building tools, nor for helping governments maintain them so that they can be used when needed.

 6   In Yearsley, for example, the United States did not order the contractor to train its employees and

 7   market its services to the government. But the Supreme Court still extended the government’s

 8   immunity to the contractor because the conduct that gave rise to the complaint—its performance

 9   of a construction contract—was “authorized and directed” by the government. Yearsley v. W.A.

10   Ross Constr. Co., 309 U.S. 18, 20–21 (1940). Here too, the limited support NSO provides its

11   sovereign customers was done entirely on their behalf and at their express direction.

12          C.      NSO’s Customers Are Indispensable Parties Under Rule 19

13          This case should be dismissed because the sovereign governments that allegedly used the

14   Pegasus tool are indispensable parties who cannot be joined under Rule 19. Plaintiffs’ Complaint

15   seeks an injunction against “all other persons acting in concert with” NSO. (Compl. Request for

16   Relief ¶ 2; Opp. 9.) Under Plaintiffs’ own theory of the case, sovereign government agencies

17   “acted in concert” with NSO, and Plaintiffs recognize that they cannot be joined because they are

18   immune from suit. (Opp. 7.) The Court cannot grant Plaintiffs the relief they seek, so the missing

19   government agencies are indispensable parties. (Mot. 19.) In addition, Plaintiffs’ requested relief

20   would impair NSO’s customers’ rights under their contracts with NSO (Compl. ¶ 43) by

21   forbidding NSO from “facilitating” their use of Pegasus (Opp. 9). Fed. R. Civ. P. 19(a)(1)(B).

22          To avoid this result, Plaintiffs disavow their own Complaint, ignoring the exhibits that

23   demonstrate NSO’s business model (Mot. 2 n.1, 6) and dismissing their request for relief as

24   meaningless “boilerplate” (Opp. 9). But the case is framed by the Complaint Plaintiffs filed. If

25

26   15
     Plaintiffs appear to have abandoned their false allegation that NSO has private customers. (Mot. 2.)
   They fault NSO for not identifying individual countries as its customers (Opp. 8), but since all
27 foreign nations have sovereign immunity, the precise identity of NSO’s customers is irrelevant.

28 Identifying NSO’s customers would expose state secrets about their national-security operations,
   impairing the very interests sovereign immunity protects. (Mot. 7; Hulio Decl. ¶ 18.)
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 1   Plaintiffs want to revise their requested injunction, they must do so in an amended complaint.

 2          Plaintiffs also misdescribe the Supreme Court’s ruling in Philippines v. Pimentel, 553

 3   U.S. 851 (2008), by shuffling selective quotations to claim that it stands for the opposite of its

 4   holding. Pimentel held that its rule was “clear: A case may not proceed when a required-entity

 5   sovereign is not amenable to suit.” Id. at 867. Plaintiffs quote from a prefatory section of the

 6   opinion in which the Court noted that Rule 19(b) sometimes turns on “factors varying with the

 7   different cases,” and requires the district court to consider “equity and good conscience.” Id. at

 8   862–63. Plaintiffs then erroneously state that the Supreme Court applies the “equity and good

 9   conscience” standard to sovereigns, when in fact the Supreme Court held the lower courts erred

10   by doing so. Id. at 864. Pimentel’s rule is “categorical” (Opp. 10), and it requires dismissal.

11          D.      Plaintiffs Cannot State a CFAA Claim Because NSO Did Not Access
                    WhatsApp’s Servers Without Authorization
12
            It is undisputed that WhatsApp authorized NSO to send messages over its servers. (Opp.
13
     21.) 16 According to the Complaint, the only thing that distinguishes NSO’s messages from others
14
     is the adjective “malicious”—but that describes only the alleged impact on target users, 17
15
     because the servers handled the messages just like other messages. (Compl. ¶¶ 36-37.)
16
            NSO thus could not have acted “without authorization” under the CFAA by sending
17
     messages. As the Ninth Circuit has held, “a person who uses a computer ‘without authorization’
18
     has no rights, limited or otherwise, to access the computer in question.” LVRC Holdings LLC v.
19
     Brekka, 581 F.3d 1127, 1133 (9th Cir. 2009) (emphasis added). Plaintiffs concede NSO had
20
     limited authorization to send messages (Opp. 21), so they cannot claim NSO acted “without
21
     authorization” by “violat[ing] those limitations.” Brekka, 581 F.3d at 1133. 18 If avoiding
22

23   16
       Plaintiffs seek to enforce the TOS’s terms against NSO, thereby admitting that NSO’s right to
24   access WhatsApp’s servers was created and regulated by the TOS. Access to WhatsApp’s
     servers is the consideration WhatsApp offers in exchange for binding users to the TOS. If
25   WhatsApp had not granted NSO access, Plaintiffs could not invoke the TOS’s other terms.
     17
26     Plaintiffs start their argument with the false claim that NSO “does not dispute that it accessed
     users’ devices in violation of the CFAA.” (Opp. 19.) NSO has been crystal clear that it has never
27   accessed any WhatsApp user’s device. (Mot. 6, 8, 14, 19, 20; Hulio Decl. ¶¶ 14–15.)
     18
28      Plaintiffs concede they do not allege that NSO “exceeded authorized access” to WhatsApp’s
     servers. (Opp. 22 n.15.) As NSO has shown, they cannot plead any such claim. (Mot. 21–22.)
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 1   technological limits on otherwise-authorized access violates the CFAA, then a visitor to New

 2   York Times’ website would commit a federal crime by exceeding a monthly free-article limit. 19

 3          The Ninth Circuit has already rejected Plaintiffs’ “technical restrictions” theory of CFAA

 4   liability. (Opp. 20.) In hiQ Labs, Inc. v. LinkedIn Corp.—a case Plaintiffs cite—LinkedIn

 5   enacted “technological systems” to prevent the “scraping” of data from its servers. 938 F.3d 985,

 6   990–92 (9th Cir. 2019). The defendant circumvented those systems. Id. at 991–92. But the Ninth

 7   Circuit still held that the defendant had not accessed LinkedIn’s servers “without authorization.”

 8   Id. at 999. Because the defendant was authorized to access LinkedIn’s website, technological

 9   restrictions on data scraping could not render its access “without authorization.” Id. at 1003–04.

10          So too here. Plaintiffs assert that NSO formatted WhatsApp messages to hide data

11   WhatsApp did not want users to send. (Opp. 20.) But NSO was authorized to send messages, so

12   violating WhatsApp’s limits on the contents of those messages is not accessing WhatsApp’s

13   servers “without authorization.” hiQ Labs, 938 F.3d at 999–1004; Brekka, 581 F.3d at 1133.

14   Plaintiffs also claim that NSO used “reverse-engineered” software to send messages instead of

15   using “the WhatsApp app” as required by the TOS. (Opp. 21.) But “a violation of the terms of

16   use of a website—without more—cannot establish liability under the CFAA.” Facebook, Inc. v.

17   Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016). Finally, Plaintiffs imply NSO

18   “access[ed] server-side call settings and alter[ed] the technical architecture routing calls through

19   its servers.” (Opp. 21.) That claim is not in the Complaint and cannot be considered. In any

20   event, Plaintiffs do not explain what it means or even claim that NSO did it. They merely say

21   they have not granted permission, perhaps hoping that the Court will treat a vague insinuation as

22   an allegation. Plaintiffs’ jargon cannot hide the fact that all NSO allegedly did was send the

23   wrong kind of message over WhatsApp’s servers. That is not a CFAA violation. 20

24
     19
25    See Jack Smith IV, Here’s How to Get Around the Paywalls of the New York Times, Wall
   Street Journal and More, Observer (Jan. 8, 2015, 2:22 p.m.), https://bit.ly/2YedZrD. Plaintiffs’
26 own New York Times example (Opp. 22) is inapt because the hacker there would “exceed
   authorized access” by stealing off-limits user data from the servers. United States v. Nosal, 676
27 F.3d 854, 864 (9th Cir. 2012).
     20
28     This conclusion does not “sharply circumscribe the CFAA[].” (Opp. 22.) The Ninth Circuit
     has repeatedly described the CFAA as a “narrow” statute. hiQ Labs, 938 F.3d at 1003; Nosal,
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 1          None of the cases Plaintiffs cite are to the contrary. The defendant in Power Ventures was

 2   held liable not because it “engaged in ‘technological gamesmanship’” (Opp. 20), but because it

 3   accessed Facebook after Facebook withdrew its authorization. 844 F.3d at 1067. Unlike NSO,

 4   the Power Ventures defendant had “no rights, limited or otherwise, to access the computer in

 5   question.” Brekka, 581 F.3d at 1133. Similarly, the defendant in United States v. Morris hacked

 6 into “computers at which he had no account and no authority, express or implied,” to access. 928

 7 F.2d 504, 510 (2d Cir. 1991). And the defendant in United States v. Phillips hacked into a server

 8 “he was never authorized to access.” 477 F.3d 215, 221 (5th Cir. 2007). That is not true here.

 9          E.      Plaintiffs Cannot State a Trespass to Chattels Claim

10          This Court’s role in ruling on Plaintiffs’ state-law claim is to “predict how the California

11 Supreme Court would decide the issue.” Kairy v. SuperShuttle Int’l, 660 F.3d 1146, 1150 (9th

12 Cir. 2011). The California Supreme Court would reject Plaintiffs’ trespass to chattels claim

13 because it does not allege any injury “to the chattel.” Intel Corp. v. Hamidi, 30 Cal. 4th 1342,

14 1350 (2003). Plaintiffs claim only that NSO “impair[ed] . . . WhatsApp’s services” (Opp. 25),

15 which are not chattels. WhatsApp’s servers are chattels, but Plaintiffs allege no injury to them.

16          Plaintiffs argue that NSO interfered with the servers’ “intended functioning” (Opp. 24),

17 but Hamidi forecloses their theory of interference. Under Hamidi, actionable “interference” must

18 affect a computer’s technological functioning, “as by significantly reducing its available memory

19 and processing power.” 30 Cal. 4th at 1356. Plaintiffs contend that NSO sent a different type of

20 message than what WhatsApp users normally send, but Plaintiffs concede the messages did not

21 disrupt WhatsApp’s servers, slow them down, or otherwise “burden[] [them] as a quantitative

22 matter.” (Opp. 25.) The receipt of an undesired message that did not damage the server is not

23 “interference” under Hamidi. 30 Cal. 4th at 1358.

24          Plaintiffs do not cite any case adopting their theory of “interference” under California

25 law. Even CompuServe Inc. v. Cyber Promotions, Inc., 962 F. Supp. 1015 (S.D. Ohio 1997), on

26 which Plaintiffs heavily rely, found under Ohio law that the trespass “placed ‘a tremendous

27

28   676 F.3d at 856, 863. Even when the CFAA does not apply, plaintiffs may still be able to bring
     claims under state law. hiQ Labs, 938 F.3d at 1004; Nosal, 676 F.3d at 860.
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 1   burden’ on the [plaintiff’s] equipment, using ‘disk space and drain[ing] the processing power.’”

 2   Hamidi, 30 Cal. 4th at 1354 (quoting CompuServe, 962 F. Supp. at 1022). Plaintiffs make no

 3   similar allegation, nor could they. 21

 4           Hamidi also rejects Plaintiffs’ reliance on “loss of goodwill and remediation expenses”

 5   (Opp. 25), which are not “the type of property interest [trespass to chattels] is primarily intended

 6   to protect.” 30 Cal. 4th at 1358. Hamidi approvingly quoted criticism of Plaintiffs’ theory,

 7   describing it as “br[eaking] the chain between the trespass and the harm, allowing indirect harms

 8 to [the plaintiff’s] business interests . . . to count as harms to the chattel (the server),” which

 9 “cuts trespass to chattels free from its moorings of dispossession or the equivalent.” Id. Plaintiffs

10 cite no contrary case representing a reliable statement of California law. 22

11   Dated: April 30, 2020                         KING & SPALDING LLP
12                                                 By:    /s/Joseph N. Akrotirianakis
                                                          JOSEPH N. AKROTIRIANAKIS
13                                                        Attorneys for Defendants NSO GROUP
                                                          TECHS. LTD and Q CYBER TECHS. LTD
14

15   21
      Plaintiffs’ other cases do not help them. (Opp. 24 n.16.) The defendant in Thrifty-Tel, Inc. v.
16 Bezenek, unlike NSO, “overburdened the [plaintiff’s] system, denying some subscribers access.”
   46 Cal. App. 4th 1559, 1564 (1996). The defendant in Craigslist Inc. v. 3Taps Inc., unlike NSO,
17 “reduce[d] craigslist’s capacity to service its users.” 942 F. Supp. 2d 962, 980 (N.D. Cal. 2013).
   The defendant in Coupons, Inc. v. Stottlemire, 2008 WL 3245006, at *1, 6 (N.D. Cal. July 2,
18
   2008), “impaired [the] plaintiff’s ability to provide coupons” (Opp. 24 n.16), while NSO did not
19 prevent WhatsApp from serving any other user. Skapinetz v. CoesterVMS.com, Inc., and Jedson
   Eng’g, Inc. v. Spirit Constr. Servs., Inc., applied foreign law inconsistent with Hamidi. Skapinetz
20 applied Georgia law that merely “logging into [the plaintiff’s] email accounts without
   authorization” is trespass to chattels. 2019 WL 2579120, at *6 (D. Md. June 24, 2019). Hamidi
21 held that unauthorized use of a computer alone is not sufficient. 30 Cal. 4th at 1357. Jedson

22 applied Ohio law that does not require harm to the chattel. 720 F. Supp. 2d 904, 926 (S.D. Ohio
   2010). Hamidi requires “injury to the chattel.” 30 Cal. 4th at 1350.
23 22 Hamidi criticized CompuServe, 962 F. Supp. at 1023, and Hotmail Corp. v. Van$ Money Pie,
   Inc., 1998 WL 388389, at *7 (N.D. Cal. Apr. 16, 1998). Hamidi, 30 Cal. 4th at 1357–58.
24
   Microsoft Corp. v. Does 1-18, 2014 WL 13238677, at *9 (E.D. Va. Apr. 2, 2014), applied
25 Virginia law that, unlike Hamidi, did not require harm to the chattel. Twitch Interactive, Inc. v.
   Does, and Summit Ent’t, LLC v. Santia were ex parte rulings addressing the plaintiff’s claims
26 without any adversarial argument about California law. Twitch, 2019 WL 3718582, at *1 (N.D.
   Cal. Aug. 7, 2019); Santia, 2014 WL 12577430, at *1 (C.D. Cal. June 24, 2014). Twitch did not
27 cite Hamidi and relied on an incorrect rule that required only “damage to the plaintiff,” not the

28 chattel. 2019 WL 3718582, at *4. Santia applied the same incorrect rule and even acknowledged
   it contradicted Hamidi. 2014 WL 12577430, at *5 (citing Hamidi with “but see” signal).
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